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                      Exhibit 56
               TTV FEC Complaint Invoice
                      2022-0527
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   JAME S BOPP, JR.
   jb o p pjr@ ao l. c o m
                                     THE BOPP LAW FIRM, PC
                                               ATTORNEYS AT LAW

                                               THE NATIONAL BUILDING
                                                   1 South Sixth Street
                                         TERRE HAUTE, INDIANA 47807-3510
                                     Telephone 812/232-2434 Facsimile 812/23 5-3685
                                                   www.bopplaw.com




                                                     INVOICE
                                                   May 27, 2022



True the Vote, Inc.
PO Box 3109 # 19128
Houston, TX 77253-3109



In Reference To.Legal Representation regarding FEC Complaint

                       Professional Services

                                                                                      Hrs/Rate      Amount

   4/25/2022 CEM E-mail from FEC regarding status and plan to vote;                       0.20        73.00
                              review email to client regarding the same                 365.00/hr


                       For professional services rendered                                 0.20       $73.00

                       Balance due                                                                   $73.00
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True the Vote, Inc.                                                          Page 2


                                Attorney Summary
Name                                                 Hrs/Rate --=-=-==
                                                                 Rate ---c....cc~=
                                                                            Amount
Courtney E. Milbank                                      0.20  365.00          $73.00
